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Public Buildings Service

June 11, 2025

Ms. Kari Lake
Senior Advisor
U.S. Agency for Global Media

Dear Ms. Lake,

The Thomas R. Carper Water Resources Development Act of 2024, directs the General
Services Administration (GSA) to sell the Wilbur J. Cohen Federal Building (Cohen), located at
330 Independence Avenue Southwest, Washington, D.C. Cohen houses elements of the U.S.
Agency for Global Media (USAGM), Voice of America (VOA), and Health and Human Services.

As mandated by the Act, the federal government is selling the Cohen building as part of a
broader initiative to dispose of underutilized real estate assets. GSA has communicated to these
tenant groups its intention to initiate the sale of Cohen as early as possible in 2026 and is
working closely with each tenant to assist in vacating the building. Subsequently, USAGM and
VOA have shared their intention to vacate Cohen and have inquired about the possibility of
remaining beyond the end of the Fiscal Year on September 30, 2025. USAGM and

VOA requested the timeline flexibility due to the repositioning of personal property and its radio
and television equipment.

GSA is flexible to collaborating with USAGM and VOA on an extension if necessary, including
the possibility of a leaseback after any sale. GSA remains dedicated to working with USAGM
and VOA to support their efforts to vacate the building as efficiently and as soon as possible.
This collaboration will help facilitate the objectives of the Act and the sale of the Cohen building.

If you have any questions or concerns regarding this matter, please contact me at
or by phone at,

Sincerely,

a A

Michael P. Peters
Commissioner

U.S. General Services Administration
1800 F Street NW

Washington, DC 20405

Www.gsa.gov
